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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-CV-00424-RP
PURYEAR, KATHY KENNEDY,                    §
REBECCA JONES, RICHARD DAY,                §
CYNTHIA WARING, AND DIANE                  §
MOSTER,                                    §
                                           §
   Plaintiffs,                             §
                                           §
           v.                              §
                                           §
LLANO COUNTY, RON CUNNINGHAM, §
in his official capacity as Llano County   §
Judge, JERRY DON MOSS, in his official §
capacity as Llano County Commissioner,     §
PETER JONES, in his official capacity as   §
Llano County Commissioner, MIKE            §
SANDOVAL, in his official capacity as      §
Llano County Commissioner, LINDA           §
RASCHKE, in her official capacity as Llano §
County Commissioner, AMBER MILUM, §
in her official capacity as Llano County   §
Library System Director, BONNIE            §
WALLACE, in her official capacity as       §
Llano County Library Board Member,         §
ROCHELLE WELLS, in her official            §
capacity as Llano County Library Board     §
Member, RHONDA SCHNEIDER, in her           §
official capacity as Llano County Library  §
Board Member, and GAY BASKIN, in her §
official capacity as Llano County Library  §
Board Member,                              §
                                           §
   Defendants.                             §



                    [PROPOSED] ORDER GRANTING
            PLAINTIFFS’ MOTION FOR EXPEDITED DISCOVERY
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         On May 11, 2022, Plaintiffs filed their Motion for Expedited Discovery (the “Motion”).

Based on the evidence and briefing submitted, the pleadings and arguments of counsel, and for

good cause shown, Plaintiffs’ Motion is GRANTED, and the Court orders as follows:

         1.       Defendants shall serve responses to Plaintiffs’ written discovery requests,

attached as Exhibits 1 through 3 to the Motion, within fourteen (14) days of the issuance of this

Order.

         2.       Defendants Jerry Don Moss, Amber Milum, and Bonnie Wallace shall appear for

depositions, which shall be limited to four (4) hours each, to take place over Zoom, within

twenty-one (21) days of the issuance of this Order, as noticed in Exhibit 4 to the Motion. The

taking of these depositions does not prejudice Plaintiffs from later deposing these three witnesses

during the formal discovery phase of this litigation.


IT IS SO ORDERED.




Dated: ___________, 2022
                                                        Hon. Robert Pitman
                                                        United States District Judge




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